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                                                                                                   Central District of California
                                                                                                   BY gooch      DEPUTY CLERK
                      6 Attorneys for Lynda T. Bui,
                        Chapter 7 Trustee
                      7

                      8                                         UNITED STATES BANKRUPTCY COURT

                      9                                           CENTRAL DISTRICT OF CALIFORNIA

                   10                                                         RIVERSIDE DIVISION

                   11

                   12 In re:                                                        Case No. 6:16-bk-16877-WJ

                   13 RUSSEL DENNIS HILES, III,                                     CHAPTER 7

                   14                                                    Debtor.    ORDER AUTHORIZING THE TRUSTEE TO
                                                                                    EMPLOY STRATEGIC REALTY, LLC
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                   19                 Lynda T. Bui (“Trustee”), the chapter 7 trustee for the bankruptcy estate of Russel Dennis
                   20 Hiles, III, filed an application entitled “Chapter 7 Trustee’s Application to Order Authorizing

                   21 Employment of Strategic Realty, LLC; Declaration of Josh Hansen in Support” on January 23,

                   22 2018 as docket number 292. No opposition having been filed, and good cause appearing, the

                   23 Court hereby ORDERS as follows:

                   24                 1.        The Trustee is authorized to employ Strategic Realty, LLC as her real estate broker
                   25 to assist the Trustee in marketing the real property located at 66876 Gist Road, Bend, Oregon

                   26 97703.
                   27

                   28
 SHULMAN HODGES &
     BASTIAN LLP
100 Spectrum Center Drive
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                            Employ Order Strategic Realty LLC TC Hiles
                Case 6:16-bk-16877-WJ                      Doc 310 Filed 02/20/18 Entered 02/20/18 11:12:19   Desc
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                      1               2.        All compensation to the broker is subject to approval by the Court and no

                      2 compensation shall be paid unless and until the broker files and serves an appropriate fee request

                      3 and obtains an order approving the request.

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                   26 Date: February 20, 2018
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